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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Civil Action No. 1:20-cv-2110-RBJ

ADAM C. GOETSCH,

       Plaintiff,

v.

X BAR FLY, INC., dba Sato,
DOWNTOWN BROWN, dba Café 163,
and PETER TILDEN MUELLER

     Defendants.
______________________________________________________________________

              STIPULATION OF DISMISSAL WITH PREJUDICE
______________________________________________________________________

       Plaintiff Adam C. Goetsch and Defendants X Bar Fly, Inc., Downtown Brown, and

Peter Tilden Mueller (collectively, the Parties”), by and through their respective

undersigned attorneys, hereby stipulate to dismissal of all claims with prejudice

pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) with each of the Parties to bear his or its own

costs and attorneys’ fees.

Respectfully submitted this 20th day of September, 2021.

/s/Gary M. Kramer________________                /s/Michael G. Brownlee____________
Gary M. Kramer                                   Michael G. Brownlee
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Attorney for Plaintiff                           Attorney for Defendants
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                            CERTIFICATE OF SERVICE

      I hereby certify that on the date below, I filed the foregoing STIPULATION OF
DISMISSAL WITH PREJUDICE with the Court via CM/ECF, which will serve a copy
upon Defendants’ counsel as follows:

      Michael G. Brownlee
      Brownlee & Associates, LLC
      P.O. Box 1658
      Avon, Colorado 81620
      Tel: (970) 444-5570
      michael@brownleelawllc.com

___09/20/2021____                      /s/Gary M. Kramer______________________
      Date                             Gary M. Kramer




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